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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                                                                        JUN   24
                                     AUSTIN DIVISION                                               2022


 TAMMY PASTOR,                                     §
                         PLAINTIFF,                §                                                OEPuy
                                                   §
 V.                                                §
                                                   §
 DAN WILLIAMS COMPANY AND                          §     CAUSE NO. A:21-CV-00360-LY
 DAN WILLIAMS,                                     §
                DEFENDANTS.                        §


                                              ORDER

       Before the court in the above styled and numbered cause is the Notice and Report following

a mediation conducted by the United States Magistrate Judge filed June 22, 2022 (Doc. #19). The

notice informs the court that the parties negotiated in good faith and reached a confidential and

mutually agreeable settlement of the disputes raised in this action.        The parties expressed a

willingness to formalize their settlement within 30 days. Having considered the report, case file, and

applicable law, the court will allow the parties a period of time to finalize their settlement and file

papers dismissing this action.

       IT IS ORDERED that the parties file dismissal papers on or before Friday, August 12, 2022.

       SIGNED this                  day of June, 2022.




                                               U    TED STATE
